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   9 General Insurance Company and National
  10 General Holdings Corp.
  11                     UNITED STATES DISTRICT COURT
  12                    CENTRAL DISTRICT OF CALIFORNIA

  13                                          Case No.: 8:17-ML-2797-AG-KES

  14                                          STIPULATION TO MODIFY
                                              CASE MANAGEMENT ORDER
  15 IN RE WELLS FARGO                        RE: DEFENDANTS’ DEADLINE
     COLLATERAL PROTECTION                    TO ANSWER CONSOLIDATED
  16 INSURANCE LITIGATION                     COMPLAINT

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                                              Hon. Andrew Guilford
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    1        The Parties in the above-captioned litigation, by and through their
    2 undersigned counsel of record, hereby stipulate and agree as follows:
    3        WHEREAS, pursuant to the Court’s December 11, 2017 Case Management
    4 Order (Dkt. No. 35), the deadline for defendants Wells Fargo & Company, Wells
    5 Fargo Bank N.A. d/b/a Wells Fargo Dealer Services, National General Insurance
    6 Company and        National   General    Holdings    Corporation (collectively,      the
    7 “Defendants”) to answer the Plaintiffs’ Consolidated Complaint (Dkt. No. 49) is
    8 July 9, 2017;
    9        WHEREAS, on June 18, 2018 the Court granted in part Defendants’ motions
  10 to dismiss and granted Plaintiffs leave to amend their complaint by August 17, 2018
  11 (Dkt. No. 98);
  12         WHEREAS, Plaintiffs intend to file an amended consolidated complaint by
  13 August 17, 2018;
  14         NOW, THEREFORE, THE PARTIES AGREE AS FOLLOWS:
  15         1.    In order to save party and judicial resources, the Parties jointly request
  16               that the Court vacate the current July 9, 2018 deadline for Defendants
  17               to answer Plaintiffs’ Consolidated Class Action Complaint.
  18         2.    The Parties jointly request that the deadline for Defendants to file an
  19               answer or responsive motions to any amended complaint Plaintiffs may
  20               file by August 17, 2018 be 45 days after the filing of said amended
  21               complaint.
  22         3.    The Parties further jointly request that in the event that Plaintiffs do not
  23               file an amended complaint, the deadline for Defendants to answer
  24               Plaintiffs’ Consolidated Class Action Complaint (Dkt. No. 49) be
  25               October 1, 2018.
  26         IT IS SO STIPULATED.
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    1 Dated: July 3, 2018
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                                            General Insurance Company and
  14                                        National General Holdings Corp.
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        Dated: July 3, 2018
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  27                                       Services
  28

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                                            Co-Lead Counsel for Plaintiffs and
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    1                             Local Rule 5-4.3.4 Attestation
    2        I attest that all signatories listed above concur in this filing’s content and have
    3 authorized the filing.
    4        Dated : July 3, 2018           By: /s/ Corey Worcester
                                                Corey Worcester
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    1                              CERTIFICATE OF SERVICE
    2        I hereby certify that on July 3, 2018, I electronically filed the foregoing
    3 document entitled STIPULATION TO MODIFY CASE MANAGEMENT ORDER
    4 RE:     DEFENDANTS’           DEADLINE        TO    ANSWER         CONSOLIDATED
    5 COMPLAINT with the Clerk of the Court for the United States District Court,
    6 Central District of California using the CM/ECF system and served a copy of same
    7 upon all counsel of record via the Court’s electronic filing system.
    8
             Dated: July 3, 2018                  /s/ Corey Worcester
    9                                             Corey Worcester
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